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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

           DAVE GRANT,               :                    MOTION TO VACATE
           BOP Reg. # 62739-019,     :                    28 U.S.C. § 2255
               Movant,               :
                                     :                    CRIMINAL ACTION NO.
               v.                    :                    1:10-CR-521-TCB-AJB-10
                                     :
           UNITED STATES OF AMERICA, :                    CIVIL ACTION NO.
               Respondent.           :                    1:13-CV-586-TCB-AJB

                             UNITED STATES MAGISTRATE JUDGE’S
                            FINAL REPORT AND RECOMMENDATION

                 Movant, Dave Grant, confined in the D. Ray James Correctional Institution in

           Folkston, Georgia, has filed a 28 U.S.C. § 2255 motion to vacate, set aside, or correct

           his sentence in criminal action number 1:10-cr-521-TCB-AJB-10. [Doc. 718.] On

           April 12, 2013, the undersigned ordered Movant to show cause, within thirty (30) days,

           why his § 2255 motion should not be dismissed as untimely pursuant to

           28 U.S.C. § 2255(f). [Doc. 728 at 1.] Movant did not respond.

                 The matter is before the Court for a preliminary review pursuant to Rule 4(b) of

           the Rules Governing Section 2255 Proceedings. Summary dismissal of a § 2255

           motion is proper “[i]f it plainly appears from the motion, any attached exhibits, and the

           record of prior proceedings that the moving party is not entitled to relief . . . .”

           Rule 4(b), Rules Governing § 2255 Proceedings for the United States District Courts.


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           I.       Discussion

                    The record shows that Movant’s criminal judgment and commitment order was

           entered on July 21, 2011. [Doc. 369.] Movant did not appeal. Therefore, Movant’s

           convictions became final on August 4, 2011, when the time to file a direct appeal

           expired. See Fed. R. App. P. 4(b)(1)(A)(i). The one-year statute of limitations

           applicable to § 2255 motions, as provided in § 2255(f)(1), expired on August 4, 2012.1

                    It appears that Movant did not date his § 2255 motion, which was postmarked

           on February 19, 2013. [Doc. 718 at 3.] Movant has not shown that he delivered his

           § 2255 motion to prison officials for mailing by August 4, 2012. See Washington v.

           United States, 243 F.3d 1299, 1301 (11th Cir. 2001) (per curiam) (holding that

           “prisoner’s pro se § 2255 motion is deemed filed the date it is delivered to prison

           authorities for mailing”). Movant has also not presented anything to (1) justify

           equitable tolling2 or (2) demonstrate actual innocence.3 Therefore, the District Court


                    1
                       The one-year period is calculated using the “anniversary method, under
           which the limitations period expires on the anniversary of the date it began to run.”
           Downs v. McNeil, 520 F.3d 1311, 1318 (11th Cir. 2008) (internal quotation marks
           omitted). Additionally, there is no claim in this case that the circumstances set forth in
           28 U.S.C. § 2255(f)(2)-(4) apply.
                    2
                        “Equitable tolling is appropriate when a [movant] untimely files because
           of extraordinary circumstances that are both beyond his control and unavoidable even
           with diligence.” Sandvik v. United States, 177 F.3d 1269, 1271 (11th Cir. 1999)

                                                       2


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           should dismiss the § 2255 motion as untimely.4

           II.   Certificate of Appealability (COA)

                 Pursuant to Rule 11(a) of the Rules Governing § 2255 Proceedings, “[t]he district

           court must issue or deny a certificate of appealability when it enters a final order

           adverse to the applicant. . . . If the court issues a certificate, the court must state the

           specific issue or issues that satisfy the showing required by 28 U.S.C. § 2253(c)(2).”

           Section 2253(c)(2) states that a certificate of appealability may issue “only if the

           applicant has made a substantial showing of the denial of a constitutional right.” A

           substantial showing of the denial of a constitutional right “includes showing that

           reasonable jurists could debate whether (or, for that matter, agree that) the [motion]


           (per curiam).
                 3
                         “Actual innocence is not itself a substantive claim, but rather serves only
           to lift the procedural bar caused by [a movant’s] failure timely to file [a] § 2255
           motion.” United States v. Montano, 398 F.3d 1276, 1284 (11th Cir. 2005) (per curiam).
           To demonstrate actual innocence, a movant must “support his allegations of
           constitutional error with new reliable evidence . . . that was not presented at trial.”
           Schlup v. Delo, 513 U.S. 298, 324 (1995). A movant “must show that it is more likely
           than not that no reasonable juror would have convicted him in the light of the new
           evidence.” Id. at 327.
                 4
                        Movant refers to his § 2255 motion as a “motion for time reduction.”
           [Doc. 718 at 1.] The Court should not consider the motion under 18 U.S.C.
           § 3582(c)(2) because Movant does not claim that any recent amendments to the United
           States Sentencing Guidelines reduce his sentencing range.

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           should have been resolved in a different manner or that the issues presented were

           adequate to deserve encouragement to proceed further.”             Slack v. McDaniel,

           529 U.S. 473, 484 (2000) (internal quotation marks omitted).

                  When the district court denies a [motion to vacate, set aside, or correct a
                  sentence] on procedural grounds without reaching the prisoner’s
                  underlying constitutional claim . . . a certificate of appealability should
                  issue only when the prisoner shows both that jurists of reason would find
                  it debatable whether the [motion] states a valid claim of the denial of a
                  constitutional right and that jurists of reason would find it debatable
                  whether the district court was correct in its procedural ruling.

           Jimenez v. Quarterman, 555 U.S. 113, 118 n.3 (2009) (citing Slack, 529 U.S. at 484)

           (internal quotation marks omitted).

                  A COA should be denied because it is not debatable that the § 2255 motion is

           untimely. If the Court adopts this recommendation and denies a COA, Movant is

           advised that he “may not appeal the denial but may seek a certificate from the court of

           appeals under Federal Rule of Appellate Procedure 22.” Rule 11(a), Rules Governing

           § 2255 Proceedings for the United States District Courts.

           III.   Conclusion

                  For the reasons stated above,

                  IT IS RECOMMENDED that: (1) the motion to vacate, set aside, or correct

           sentence, [Doc. 718], be DISMISSED as untimely; (2) a COA be DENIED; and

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           (3) civil action number 1:13-cv-586-TCB-AJB be DISMISSED.

                   The Clerk is DIRECTED to terminate the referral of the § 2255 motion to the

           undersigned Magistrate Judge.

                   IT IS SO RECOMMENDED and DIRECTED, this 5th                day of February,

           2014.




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